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                                   3                               UNITED STATES DISTRICT COURT

                                   4                              NORTHERN DISTRICT OF CALIFORNIA

                                   5                                     SAN JOSE DIVISION

                                   6
                                       RICHARD A. WILLIAMSON,
                                   7                                                  Case No. 15-cv-00966-BLF
                                                     Plaintiff,
                                   8                                                  CASE MANAGEMENT ORDER
                                              v.
                                   9
                                       GOOGLE INC.,
                                  10
                                                     Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13         On 07/09/2015, the parties appeared before Judge Beth Labson Freeman for a Case

                                  14   Management Conference.

                                  15         IT IS HEREBY ORDERED that the following schedule shall apply in this case:

                                  16

                                  17   EVENT                                         DATE OR DEADLINE
                                  18   Further Case Management Conference            02/04/2016 at 11:00 am
                                  19   Last Day to Amend Pleadings or Add Parties    n/a
                                  20   Last Day to Disclose Experts                  n/a
                                  21   Fact Discovery Cut-Off                        n/a
                                  22   Expert Discovery Cut-Off                      n/a
                                  23   Last Day to Hear Dispositive Motions          n/a
                                  24   Claims Construction Tutorial                  11/23/2015 at 9:00 am
                                  25   Claims Construction Hearing                   11/24/2015 at 10:00 am
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                                          Case 5:15-cv-00966-BLF Document 99 Filed 07/09/15 Page 2 of 2




                                   1          IT IS FURTHER ORDERED THAT all disputes with respect to disclosures or discovery

                                   2   are referred to the assigned Magistrate Judge.

                                   3          IT IS FURTHER ORDERED THAT the parties shall comply with the Court’s standing

                                   4   orders, which are available on the Court’s website and in the Clerk’s Office.

                                   5          IT IS FURTHER ORDERED THAT the Parties are to meet, confer and filed a stipulated

                                   6   briefing schedule to Claims Construction.

                                   7

                                   8   Dated: 07/09/2015

                                   9                                                    _________________________________
                                                                                        BETH LABSON FREEMAN
                                  10                                                    United States District Judge
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                                  12
Northern District of California
 United States District Court




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